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     AO 91 (Rev. 11/11) Criminal Complaint


                                          UNITED STATES DISTRICT COURT
       JUL 12 2024                                                   for the

             rsm
                                                         Central District
                                                       __________         of of
                                                                   District  California
                                                                                __________                      July 12, 2024
                        United States of America                         )
                                   v.                                    )
                                                                         )      Case No.
                         MICHELLE BISNOFF,
                   aka “Michelle Angeline Silverstein,”                  )                   2:24-mj-04178-DUTY
                        aka “Shelly Silverstein,"                        )
                                                                         )
                                                                         )
                               Defendant(s)


                                                       CRIMINAL COMPLAINT
              I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
     On or about the date(s) of              Oct. 21, 2019 & Feb. 4, 2021       in the county of            Los Angeles         in the
           Central          District of            California       , the defendant(s) violated:

                   Code Section                                                    Offense Description
     Count 1
     15 U.S.C. §§ 78j(b), 78ff; 17 C.F.R.             Securities Fraud
     § 240.10b-5

     Count 2
     18 U.S.C. § 1343                                 Wire Fraud



              This criminal complaint is based on these facts:
     Please see attached affidavit.




              u Continued on the attached sheet.


                                                                                                    Complainant’s signature


                                                                                                     Printed name and title

     Sworn to before me and signed in my presence.


     Date:              07/12/2024
                                                                                                       Judge’s signature

     City and state:                      Los ageles, California                     Hon.
                                                                                       n. Pedro V. Castillo, U.S. Magistrate
                                                                                                                  Magistra Judge
                                                                                                     Printed name and title

$86$ Ranee Katzenstein(x2432)
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                                AFFIDAVIT

        I, Marni A. Barton, being duly sworn, declare and state as

follows:

                I. BACKGROUND OF SPECIAL AGENT BARTON

        1.   I am a Special Agent with the Federal Bureau of

Investigation (“FBI”) and have been so employed since July of

2004.    I am currently assigned to the Los Angeles Division’s

Santa Maria Resident Agency and have been so assigned since

2011.    I have participated in various investigations involving

complex financial crimes, public corruption, computer crimes and

counterintelligence.      I have received specialized training from

the FBI regarding complex financial crimes and national security

investigations.    I graduated from California Polytechnic State

University, San Luis Obispo, and obtained a degree in Business

Administration with a concentration in Accounting.             Prior to

joining the FBI, I worked as a staff accountant, trust

accountant and an accredited pension administrator for

approximately eight years.

                         II. PURPOSE OF AFFIDAVIT

        2.   This affidavit is made in support of a criminal

complaint against, and arrest warrant for:

             MICHELLE BISNOFF, also known as MICHELLE ANGELINE

             SILVERSTEIN and SHELLY SILVERSTEIN (“BISNOFF”) (year

             of birth: 1966)
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for violations of 18 U.S.C. § 1343 (Wire Fraud)1; and 15 U.S.C.

§§ 78j(b) and 78ff and 17, C.F.R. § 240.10b-5 (Securities

Fraud).2




     1  For a defendant to be found guilty of wire fraud, in
violation of 18 U.S.C. § 1343, the government must prove each of
the following elements beyond a reasonable doubt:
      (1) The defendant knowingly participated in, devised, or
intended to devise a scheme or plan to defraud, or a scheme or
plan for obtaining money or property by means of false or
fraudulent pretenses, representations, or promises;
      (2) The statements made or facts omitted as part of the
scheme were material; that is, they had a natural tendency to
influence, or were capable of influencing, a person to part with
money or property;
      (3) The defendant acted with the intent to defraud; that
is, the intent to deceive and cheat; and
      (4) The defendant used, or caused to be used, an
interstate wire communication to carry out or attempt to carry
out an essential part of the scheme.
Ninth Circuit Model Criminal Jury Instruction No. 15.35 (Aug.
2023)
     2 For a defendant to be found guilty of securities fraud
under 15 U.S.C. §§ 78j(b) and 78ff and 17 C.F.R. § 240.10b-5,
the government must prove each of the following elements beyond
a reasonable doubt:
     (1) The defendant willfully used a device or scheme to
defraud someone, made an untrue statement of a material fact,
failed to disclose a material fact that resulted in making the
defendant’s statement misleading, or engaged in any act,
practice, or course of business that operates or would operate
as a fraud or deceit upon any person;
     (2) The defendant’s acts were undertaken, the statement was
made, or the failure to disclose was done in connection with the
purchase or sale of a security;
     (3) The defendant directly or indirectly used the
instrumentalities of interstate commerce [e.g., wire
communications] in connection with these acts, making this
statement, or this failure to disclose; and
     (4) The defendant acted knowingly.
Ninth Circuit Model Criminal Jury Instruction Number 15.47 (Dec.
2020).

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     3.      The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel,

witnesses, analyses of records and documents obtained during the

investigation, and publicly available records, including

property records and civil litigation files.           This affidavit is

intended to show merely that there is sufficient probable cause

for the requested warrants and does not purport to set forth all

of my knowledge of or investigation into this matter.             Unless

specifically indicated otherwise, all conversations and

statements described in this affidavit are related in substance

and in part only; all amounts, sums and calculations are

approximate; and all dates and times are on or about those

indicated.

                    III. SUMMARY OF PROBABLE CAUSE

     4.      BISNOFF fraudulently solicited investments in her

company ESOS RINGS, INC. ("ESOS"), by falsely representing

ESOS's business activities and profitability, and the returns

that the investors would receive.

     5.      Beginning around February 2017 and continuing to in or

around December 2023, BISNOFF made materially false statements,

representations, and promises to victims to induce them to

invest funds in ESOS. BISNOFF told prospective investors that:

(1) BISNOFF and her company ESOS owned patents for "smart rings"

that could be used to make contactless payments; (2) investments

in ESOS would be used to increase the company's manufacturing

capabilities and/or its inventory; (3) ESOS was imminently going


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to be acquired or be infused with capital enabling it to quickly

repurchase the company's stock, resulting in a substantial

profit to the investors; and (4) ESOS was earning a substantial

profit.   My investigation has shown that these representations

were false: Neither BISNOFF nor ESOS owned the patents at issue;

the majority of investor funds raised were used to make Ponzi-

like payments to earlier investors and to benefit BISNOFF

personally; the prospective acquirors of ESOS had no knowledge

of ESOS and/or no plan to provide capital for it; and ESOS had

virtually no business operations, let alone profits.

     6.    Investor funds were transmitted to ESOS bank accounts

controlled by BISNOFF by means of interstate wires, including

through the Fedwire Funds Service processing sites in New Jersey

and Texas. According to an analysis conducted by an FBI Forensic

Accountant, of the $2,140,250 of investor funds that BISNOFF

obtained, approximately $775,806 was used to fund Ponzi payments

to earlier investors; over $700,000 was used to pay the rent on

her personal residence; and over $300,000 was transferred to

BISNOFF'S personal bank account and then used by her to pay

personal expenses.

                    IV. STATEMENT OF PROBABLE CAUSE

     A.    Background on BISNOFF and ESOS

           1.    BISNOFF

     7.    BISNOFF was a resident of Los Angeles from 2017 to

2023, when she became a resident of Santa Barbara, California.

Since 2023, BISNOFF has resided in Boca Raton, Florida, at the

SUBJECT PREMISES.


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     8.    BISNOFF worked for McLear US (described below) from

January 2016 to October 24, 2016, when her employment was

terminated.

     9.    BISNOFF used the following accounts:

           a.    Citibank, N.A. ("Citibank") personal joint

checking account X0533. BISNOFF and her husband opened the

account on March 8, 2016, and were the signatories on the

account. Citibank is a federally insured financial institution

based in New York, New York.

           b.    American Express Company ("AMEX") credit card

X2006. This account was opened in BISNOFF's name in March 2021.

           2.    ESOS

     10.   BISNOFF formed ESOS as a Delaware corporation in

January 2017. ESOS' principal place of business was in Los

Angeles and, after 2023, Santa Barbara, California. BISNOFF was

the Chief Executive Officer ("CEO") of ESOS and its only control

person.

     11.   ESOS purported to manufacture and sell "smart rings,"
i.e., wearable rings that could be used to make contactless

payments, based on patents purportedly owned by ESOS. ESOS

claimed it would make money by selling the rings to users and

collecting interchange fees from the users' payment

transactions.

     12.   ESOS used the following bank accounts:

           a.    Bank of America ("BofA") checking account X7373.

BISNOFF and ESOS Chief Technology Officer ("CTO") Rex Scates

opened the account on February 10, 2017, are the signatories on


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the account.      BofA is a federally insured financial institution

based in Charlotte, North Carolina.

             b.    Citibank business checking account X8828. BISNOFF

opened the account on April 19, 2018, and was the sole

signatory.

             c.    PNC Bank, N.A. ("PNC") corporate business account

X3242 (previously BBVA account X50073 ). BISNOFF opened the

account on August 17, 2018, and is the sole signatory. PNC is a

federally insured financial institution based in Pittsburgh,

Pennsylvania.

     13.     Neither ESOS nor its securities were ever registered

with the SEC.

             3.    SEC Proceedings Against BISNOFF and ESOS

     14.     On September 12, 2023, the U.S. Securities and

Exchange Commission (“SEC”) sued BISNOFF and ESOS for securities

fraud.4     On that same date, BISNOFF and ESOS, without admitting

or denying the allegations in the SEC's complaint, consented to

final judgments permanently enjoining them from violating the

antifraud provisions of Section 17(a) of the Securities Act of

1933 and Section 10(b) of the Securities Act of 1934, and Rule

10b-5 thereunder, and holding them jointly and severally liable

to pay $566,483 in disgorgement and $46,836 in prejudgment

interest. BISNOFF also consented to an officer-and-director bar,

a $233,229 civil penalty, and a permanent injunction prohibiting


     3    PNC acquired BBVA on or about June 1, 2021.
     4 Securities and Exchange Commission v. Esos Rings, Inc. and
Michelle Silverstein aka Michelle Silverstein Bisnoff, No. 2:23-
cv-07553 (C.D. Cal., filed Sept. 12, 2023).

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her from directly or indirectly, including, but not limited to,

through any entity owned or controlled by her, participating in

the issuance, purchase, offer, or sale of any security in an

unregistered offering.

     15.    To date, neither BISNOFF nor ESOS has paid any of the

amounts due.

            4.   ESOS’s EIDL Loan

     16.    On March 30, 2020, BISNOFF, using the name “Michelle

Silverstein” and identifying herself as the COO of “Esos Ring

[sic] Inc”, applied to the U.S. Small Business Administration

(“SBA”) for a $150,000 Economic Injury Disaster Loan (“EIDL”).

The loan was approved and was funded on May 12, 2020.             The

application stated that “Michelle Silverstein” owned 100% of the

company and that in 2019, the company had gross revenues of

$675,000 and the cost of goods sold was $350,000. On March 7,

2022, BISNOFF contacted the SBA and requested an increase in

funding related to the 2020 EIDL loan. In response, the SBA

requested a copy of ESOS’s filed 2019 Federal Tax Return. On

April 15, 2022, BISNOFF submitted a U.S. Corporation Income Tax

Return, Form 1120, for 2019, which reported gross receipts or

sales of $679,634, and cost of goods sold of $491,154.             The

return stated that it had been prepared by Tia Uzzell of the

firm Lifestyle and Career Essentials, located in Kansas City,

Missouri.

     17.    I believe the 2020 application and 2022 request for an

increase in loan funding contained false information.             For

example, based on my investigation, as described below, I know


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that ESOS did not have gross receipts or sales of $679,634 in

2019, and that the tax return submitted in support of the loan

funding increase request reported different numbers and a

different preparer than appear on the 2019 tax return BISNOFF

provided to prospective investors, as discussed in paragraphs

31, 94, 102, and 107 below.

     B.    The Scheme to Defraud

     18.   As part of the investigation to date, other FBI Agents

and I have interviewed 11 victim-investors. Each recounted the

false statements and representations that BISNOFF made, and many

provided copies of emails, text messages, and documents BISNOFF

provided and caused to be provided, including documents entitled

“ESOS RINGS, INC. RESTRICTED STOCK AGREEMENT,” in connection

with her sale to them of a security, namely, shares of ESOS.5

           1.    BISNOFF’s False Statements and Representations

                 a.      Patent Ownership

     19.   Based on interviews with victim-investors, I know that

BISNOFF represented and caused ESOS to represent that ESOS owned

the smart ring patents.

     20.   I know that this representation was false based on

interviews of Joseph Prencipe and my review of pleadings filed

in civil litigation from which I learned the following:




     5 “Security” for purposes of the security fraud statute is
broadly defined and includes “any note, stock, treasury stock, .
. . certificate of interest or participation in any profit-
sharing agreement . . ., transferable share, investment contract
. . . , or in general, any instrument commonly known as a
‘security.’” 15 U.S.C. § 78c(10).

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      21.   Prencipe is an attorney and business executive. In

 2016, Prencipe was the CEO of McLear & Co., Inc. ("McLear US"),

 which is a smart ring technology company. On April 12, 2016, the

 U.S. Patent and Trademark Office ("USPTO") issued Patent No.

 9,313,609 (the "'609 Patent") to Prencipe. The ‘609 Patent is a

 smart ring technology patent titled "Contact Information Social

 Exchange Method System" and Prencipe is listed as the sole

 inventor. On October 10, 2016, Prencipe assigned the '609 Patent

 to McLear US.

      22.   In early 2017, Prencipe discovered that BISNOFF was

 representing herself to others as the owner of McLear US and its

 associated smart ring patent. Prencipe confronted BISNOFF.              In

 response, BISNOFF sued Prencipe and McLear US in federal

 district court for patent infringement, falsely claiming that

 Prencipe had assigned the '609 Patent to ESOS.6 Recognizing that

 "the validity of the '609 patent assignment must be resolved

 before the claim of patent infringement," the district court

 held that it had no subject matter jurisdiction and dismissed
 BISNOFF's suit without prejudice three days after it was filed.

      23.   Three days after that, on February 27, 2017, BISNOFF

 sued Prencipe and McLear US in state court for breach of

 contract and other causes of action.7         McLear US filed a cross-

 complaint alleging that BISNOFF had breached her Independent

 Contractor Agreement ("ICA") including the prohibition against


      6 ESOS Rings, Inc. v. Prencipe et al., Case No. 17-1381-RGK
 (CACD), filed February 21, 2017.
      7 ESOS v. Prencipe et al., Superior Court California, Case
 No. BC652020.

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 using any of McLear US' confidential information. During these

 proceedings, ESOS was subjected to an evidentiary sanction and

 ESOS and BISNOFF were subjected to monetary sanctions, namely

 $223,697 in attorney's fees, based on BISNOFF's deletion of

 documents that were subject to a pending subpoena and motion to

 quash.

      24.   On January 31, 2023, a jury found BISNOFF liable for

 breach of contract, breach of fiduciary duty, and conversion

 (with malice, oppression and/or fraud). BISNOFF was ordered to

 pay over $20,000,000 in compensatory and punitive damages.

 McLear US was found to be the rightful owner of an undivided,

 100 percent interest in the '609 Patent Family.8 ESOS/BISNOFF was

 found to have no ownership interest in the ’609 Patent Family.

 BISNOFF was ordered to pay attorney’s fees to McLear US in the

 total amount $7,187,496.

                  b.     Use of Investor Funds

      25.   Based on interviews with victim-investors, I know that

 BISNOFF represented and caused ESOS to represent that ESOS was
 seeking outside investments to pay for increasing its

 manufacturing capabilities, including the manufacturing ESOS was

 doing in Wuhan, China, and to increase ESOS' inventory. BISNOFF

 claimed ESOS would make money by selling rings to users and by

 collecting interchange fees from users' payment transactions. I



      8 The ’609 Patent Family includes but is not limited to U.S.
 Patent numbers 10,412,558, 10,264,415, and 10,425,785, and
 European Patent Application EP3748561, and covers a near-field
 communication (“NFC”) ring that can be used to make contactless
 payments.

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 know that this representation was false based on information

 obtained in the investigation, including the following:

      26.    Rex Scates was interviewed and stated the following:

             a.   Scates was the CTO of ESOS. Scates did not

 receive a salary but had an ownership interest in ESOS.

             b.   Scates created only a couple thousand plastic

 ring prototypes for ESOS.

             c.   Only proof-of-concept rings were created. The

 rings were never produced on a large scale or manufactured

 overseas.

      27.    I interviewed S.S. and learned the following:

             a.   S.S. is the founder and CEO of Cascade Financial

 Technology Corporation ("Cascade"), a financial services company

 that partnered with banks to process and manage their prepaid

 debit/credit programs.      S.S. met BISNOFF around the end of 2016

 or early 2017 when BISNOFF became a client of Cascade for ESOS.

 S.S. invested in ESOS (discussed further below) and was a member

 of the Board of Directors from 2017 through 2023.

             b.   According to S.S., ESOS rings were never produced

 on a large scale or manufactured overseas, and the few dozen

 rings that were manufactured were created on a 3D printer.

      28.    A review of ESOS's bank accounts showed that instead

 of using investor funds for ESOS business purposes, BISNOFF used

 a substantial amount of investor money to pay for personal

 expenses, such as the monthly rent for her luxury personal

 residence. BISNOFF's landlord told the FBI that around August

 2016 BISNOFF and her family leased his Pacific Palisades home,



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 paying $13,000 per month to begin and, by the end of their

 tenancy in August 2021, $15,000 per month. According to an

 analysis conducted by an FBI Forensic Accountant, approximately

 $400,000 was transferred to BISNOFF's personal bank and

 investment accounts and approximately $30,000 was transferred by

 ESOS' business accounts to pay BISNOFF's personal AMEX.

                  c.     ESOS’ purported profitability

      29.   Based on interviews with investors, I know that

 BISNOFF claimed ESOS was profitable and had entered into

 significant business deals for smart ring sales. Based on the

 investigation, I know this to be false.

            a.    S.S. stated that ESOS did not have any revenue

 during his time with the company. S.S. was shown certain tax and

 financial documents for ESOS that some investors had received

 from BISNOFF (described below), and said he was not aware of any

 basis for the revenue numbers appearing on the documents, e.g.,

 $3,127,000 reported for 2019.

            b.    According to S.S., ESOS only manufactured smart

 ring prototypes to be used as proof of concept, generating only

 a few cents per transaction.

      30.   Based on my review of a financial analysis conducted

 by an FBI Forensic Accountant, I know that ESOS bank records

 reflect minimal or zero average monthly account balances prior

 to deposits of investor money and no deposits that can be

 attributed to ESOS's sale of, or revenue from, smart rings.

      31.   BISNOFF provided several prospective investors with

 ESOS' purported financial statements and 2019 tax return. The



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 2019 tax return reported gross sales of $3,127,849.             The

 statements were presented under a cover page identifying Jung

 Novikoff & Stevens, LLP, and the third page of the statements

 stated “Reviewed By: Marc Bronstein CPA XXX53 8/31/2020.”

 Bronstein was interviewed by the FBI and stated that neither he

 nor his firm had prepared those documents or signed off on the

 financial statements, and his purported signature on the tax

 return had been forged.

                  d.     Expected Sale of, or Substantial Capital
                         Infusion into, ESOS

      32.   Based on interviews with victim-investors, I know that

 BISNOFF represented and caused ESOS to represent that ESOS was

 on the verge of being sold or was about to receive a large

 capital infusion that would enable the company to quickly

 repurchase investors' stock at a price substantially in excess

 of what the investors had paid for it. Based on my

 investigation, I know this to be false.

            a.    Through its investigation, the SEC determined

 that, in each instance, the purported new owner or large

 investor either did not know ESOS or BISNOFF, had no documents

 concerning them, or had only minimal contact with them. None of

 the touted impending deals or capital infusions ever happened.

            b.    A review of ESOS's bank accounts shows that those

 buy-backs of shares that did occur were funded with monies

 obtained from other victim-investors.

      33.   BISNOFF provided investors numerous excuses for why

 they had not received payment from the promised buy-backs of




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 their shares, including that ESOS’s purported manufacturers

 overseas had shut down and that she had terminal cancer starting

 around year 2022. As discussed above, ESOS had no overseas

 manufacturers; as discussed below, an FBI review of BISNOFF's

 medical records did not identify any cancer-related diagnosis or

 treatment during the relevant timeframe.

               2.   Through the False Statements and Representations,
                    BISNOFF Obtained Money from Victim-Investors

                    a.   Victim-Investor S.S.

         34.   As noted above, S.S. met BISNOFF around the end of

 2016 or early 2017 when BISNOFF became a client of Cascade for

 ESOS.

         35.   BISNOFF told S.S. that ESOS held two patents for smart

 ring technology that allowed users to make contactless payments

 from a physical ring.

         36.   Soon thereafter, BISNOFF told S.S. an ESOS board

 member was leaving the company, which made ESOS shares available

 for purchase. BISNOFF offered Cascade and S.S. the opportunity

 to invest $150,000 in ESOS in exchange for 40 percent of the

 existing shares and a seat on the ESOS Board of Directors.

 BISNOFF told S.S. that the $150,000 investment would be used to

 increase ESOS' manufacturing capabilities associated with

 scaling the company to produce 50,000 payment-enabled devices.

         37.   As a result of BISNOFF's false and misleading

 statements, S.S. formed a company called Wearable Fintech to

 invest in ESOS and wired the following amounts on the following

 dates ESOS BofA account ending in 7373:



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            a.    $75,000 on February 10, 2017;

            b.    $75,000 on March 3, 2017.

      38.   Based on BISNOFF's representations, S.S. understood

 that BISNOFF was responsible for obtaining business deals on

 behalf of ESOS. At various times, BISNOFF mentioned that ESOS

 had entered into deals with Lord of the Rings, which licensed

 merchandise, and Qalo, a manufacturer of silicone rings, however

 S.S. had no first-hand knowledge of the deals other than what

 BISNOFF told him. During his time on ESOS's Board of Directors,

 none of the deals mentioned by BISNOFF actually materialized.

 ESOS rings were never produced on a mass scale or manufactured

 overseas. Approximately one to two dozen prototype rings were

 produced using a 3D printer. The prototype rings were loaded

 with corporate funds, approximately $100 per ring, and only

 generated a few cents of revenue per transaction.

      39.   S.S. first learned ESOS did not own the patents for

 the smart ring technology when he testified in the civil lawsuit

 involving Prencipe and BISNOFF in Los Angeles (see paragraphs

 22-24 above). S.S. did not know BISNOFF was soliciting

 individual investors, including through so-called "Friends and

 Family" allotments until he was contacted by the SEC in 2023.

 S.S. had no knowledge of any impending ESOS deals with Apple,

 including any purchase by Apple of ESOS.

      40.   S.S. resigned his seat on the ESOS Board of Directors

 around March 2023 after being contacted by an attorney for the

 SEC and a disgruntled investor on LinkedIn. At the time, the

 only other members of the ESOS board were BISNOFF and Scates.



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         41.   S.S. did not receive any return on his investment,

 resulting in a net loss of $150,000.

                     b.   Victim-Investor A.S.

         42.   A.S., does business through Sandler Advisory Board,

 also known as Sandler Partners LLC; Telecom Las Vegas LLC, and

 SAS RivaRidge, LLC.      He is based in Redondo Beach, California.

 A.S. met BISNOFF’s husband through work around 20 years ago and

 became friends with him.

         43.   On December 12, 2017, BISNOFF sent an email to A.S.

 that offered a Friends and Family Advisory Board investment

 opportunity. BISNOFF advised Virgin was set to buy out all

 remaining Advisory Board shares effective December 15, 2017, for

 a 35 percent ownership of ESOS, so only a couple days remained

 to invest in the last 15,000 ESOS Advisory Board shares at a

 purchase price of $7 per share. BISNOFF advised the Advisory

 Shares would be repurchased at market price of $10 per share

 within 120 days after the vesting date of December 15, 2017.

         44.   On December 28, 2017, BISNOFF advised A.S. in an email

 that ESOS had closed with Virgin on December 15, 2017, at $10

 per share, and 15,000 Advisory Share pool shares were still

 available, but only to current shareholders for follow-on

 purchasing.

         45.   As a result of BISNOFF’s false and misleading

 statements, A.S. caused SAB to wire the following amounts on the

 following days to ESOS BofA account ending in 7373 to invest in

 ESOS:

               a.   $105,000 on December 14, 2017;



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            b.   $100,000 on January 12, 2018.

      46.   SAB did not receive any return on investment,

 resulting in a net loss of $205,000.

                  c.     Victim-Investor L.K.

      47.   L.K., a resident of Pacific Palisades, California, met

 BISNOFF in October 2015 through neighbors. BISNOFF told L.K. she

 held patents for a smart ring that could make contactless

 payments and had started ESOS. BISNOFF asked L.K. to become an

 advisory ESOS board member, and L.K. agreed. The request was not

 unusual as L.K. had experience as a business executive and chief

 marketing officer at Fortune 100 companies, which included

 advising and mentoring startup companies.

      48.   On December 5, 2017, BISNOFF sent L.K. an email that

 said she was accepting an offer from Virgin Mobile/Sprint to

 sell 35 percent of ESOS. BISNOFF offered L.K. 1,000 unused

 advisory board shares at $7 per share with a buy-back of $10 per

 share back after the deal with Virgin Mobile/Sprint closed on

 December 15, 2017.

      49.   On February 24, 2018, BISNOFF sent L.K. an email that

 offered L.K. the opportunity to buy shares at the current value

 of $10, which BISNOFF said L.K. could sell for $13 to an

 investor who had already been lined up.

      50.   On April 4, 2018, BISNOFF sent L.K. an email that said

 ESOS had completed a mass retail branding agreement with QALO

 and that, as of September 2018, ESOS-enabled products would be

 available under the QALO brand name at all QALO retailers, which




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 included Target, Wal-Mart, Lowes, REI, Dicks, Bass Pro Shops,

 Cabellas, and all U.S. military PX locations.

      51.   In April or May 2019, BISNOFF sent L.K. an email that

 offered her the opportunity to purchase additional ESOS shares

 at $10 per share, with immediate vesting and the opportunity to

 resell the shares at $19 per share.

      52.   On January 13, 2020, BISNOFF offered L.K. the

 opportunity to purchase additional ESOS shares at $23 per share,

 vesting no later than April 30, 2020, which she could then

 resell at $28 per share.

      53.   As a result of BISNOFF’s false and misleading

 statements, L.K. invested in ESOS by wiring the following

 amounts on the following dates to ESOS BofA account ending 7373

 and Citibank account X8828:

            a.    $10,500 on December 6, 2017(BofA);

            b.    $10,000 on April 30, 2018 (Citibank);

            c.    $20,000 on May 1, 2019 (Citibank);

            d.    $20,000 in two separate wires of $10,000 each on

            July 1, 2019(Citibank);

            e.    $23,000 on January 14, 2020 (Citibank).

      54.   BISNOFF repurchased the shares L.K . bought on

 December 6, 2017, and April 30, 2018, using in part other victim

 funds. For example, on December 19, 2017, BISNOFF repurchased

 L.K.’s $10,000 December 6, 2017, investment using $15,000 that

 can be traced to the $105,000 that victim-investor A.S. sent to

 ESOS on December 14, 2017.      On June 14, 2018, BISNOFF

 repurchased L.K.’s $10,000 April 30, 2018, investment using



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 $13,000 from her personal checking account that she routed

 through ESOS Citibank account ending 0533.

      55.    Starting around July or August 2022, BISNOFF provided

 numerous excuses for failing to pay the amounts that should have

 resulted from the promised share buy-backs.           Among other

 reasons, BISNOFF said she had been diagnosed with terminal

 uterine cancer and was receiving cancer treatment at the

 University of California Los Angeles (“UCLA”).

      56.    Around August 10, 2022, BISNOFF left a check in an

 amount of $32,200 written from PNC account ending 3242 at L.K.’s

 doorstep.   When L.K. tried to deposit the check, it bounced.

      57.    On August 19, 2022, BISNOFF withdrew $32,250 from her

 personal checking account (Citibank account X0533) and used it

 to repurchase L.K.’s January 14, 2020, investment, using

 proceeds that can be traced to a $40,000 wire transfer sent by a

 victim-investor that same day.

      58.    In total, L.K. invested $83,500 and received a return

 of $60,200 for a net loss of $23,300.

                  d.     Victim-Investor R.K.

      59.    R.K., a resident of Pacific Palisades, California, was

 introduced to BISNOFF in 2014 through mutual friends. On

 December 5, 2017, BISNOFF sent R.K. an email stating that she

 was accepting an offer from Virgin Mobile/Sprint to purchase 35

 percent of ESOS. BISNOFF offered R.K. 1,000 unused advisory

 board shares at $7 per share with a promised buy-back of $10 per

 share that would take place after the deal with Virgin

 Mobile/Sprint closed on December 15, 2017.



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      60.   On May 21, 2018, BISNOFF sent R.K. an email stating:

 “Last call for shares! We have 5,000 shares left at $10 each,

 closing date for the sale is June 8 at $13 per share. New owner

 will be Roc Nation. Minimum purchase of 750 shares. We’re

 selling core value of the patent and they will be program

 managing the release from this point onward.”

      61.   On or about August 14, 2018, BISNOFF sent an email to

 R.K. that stated, in part, “25,000 unvested share are available

 at $13 and will redeem at $17 on November 15. Those shares

 revert to Apple if not purchased. Please reach out immediately

 if you’d like to buy a minimum block of 3000 shares.”

      62.   On March 6, 2019, BISNOFF informed R.K. that ESOS's

 U.S. licensing would be done exclusively through Synchrony Bank,

 formerly GE Capital, and ESOS would become a licensing only

 entity as of April 20, 2019, which represented another ESOS

 investing opportunity at $10 per share with a promised

 redemption/buy-back of $19 per share on April 20, 2019.

      63.   On November 12, 2019, BISNOFF advised R.K. of another

 investment opportunity due to a confirmed offer from

 entrepreneur Jamie Kern Lima to purchase a 34 percent ownership

 interest in ESOS at $31.50 per share. BISNOFF said that this

 investment opportunity was only open to current or past

 shareholders of Board Advisor/employee pool shares, that the

 purchase price was $22.50 per share, and that a buy-back at

 $31.50 per share would take place in January 2020.

      64.   On December 29, 2020, BISNOFF thanked R.K. for

 patience during COVID, which BISNOFF claimed disrupted the ESOS



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 supply chain, launch dates, and product development, and advised

 of another investment opportunity to invest at $10 per share

 with a buy-back at $28 per share on January 25, 2021.

      65.   As a result of BISNOFF's false and misleading

 statements, R.K. invested in ESOS by wiring the following

 amounts on the following dates to ESOS BofA account ending 7373

 and Citibank account X8828:

            a.    $7,000 on December 6, 2017 (BofA);

            b.    $25,000 on May 31, 2018 (Citibank);

            c.    $39,000 on August 15, 2018 (Citibank);

            d.    $50,000 on March 7, 2019 (Citibank);

            e.    $56,250 on November 13, 2019 (Citibank);

            f.    $25,000 on December 30, 2020(Citibank).

      66.   BISNOFF repurchased the shares R.K. bought with her

 first four ESOS investments, using in part funds from other

 victim-investors. For example, on October 21, 2019, BISNOFF used

 $123,750 of the $350,000 that Victim-Investor A.C. had just sent

 to ESOS that same day to buy back R.K.'s March 7, 2019, $50,000

 investment.

      67.   R.K.'s November 13, 2019, and December 30, 2020,

 investments were not bought back as BISNOFF had promised,

 resulting in a net loss of $81,250 principal.

      68.   BISNOFF had promised an investment return of $162,500.

 Around August 22, 2022, BISNOFF gave R.K. a check in this amount

 drawn on ESOS PNC account X3242.        The check was returned for

 non-sufficient funds.




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                  e.     Victim-Investor A.C.

      69.   A.C., a resident of Los Angeles, California, met

 BISNOFF approximately 20 years ago through A.C.'s ex-spouse.               In

 2018 BISNOFF notified A.C. that she had started a business

 called ESOS.    According to BISNOFF, ESOS sold contactless

 payment rings and business was booming. BISNOFF often boasted

 about pending ESOS deals with companies such as Amazon and

 Citibank. BISNOFF eventually offered A.C. the opportunity to

 invest in ESOS and told her she could double her money in

 months.

      70.   On September 5, 2018, BISNOFF sent A.C. an email

 offering to sell ESOS shares for $10 per share with a buy-back

 at $17 per share on December 18, 2018, which was the date the

 USPTO would purportedly be registering the ESOS patent to Apple.

      71.   On November 21, 2018, BISNOFF provided updates via

 email to A.C., including that PayPal had agreed to pilot ESOS

 payment rings for both PayPal and Venmo brands, with the first

 shipment arriving at PayPay HQ on December 5, 2018; the rings

 piloting for LA Metro averaged $117 per month in purchases

 generating $1.17 per month per ring in free cash flow for ESOS;

 and the ESOS ring customization website for direct to consumer

 sales through QALO would begin in the second quarter.

      72.   On May 5, 2019, BISNOFF sent A.C. an email offering

 ESOS shares from the Series A employee pool at $10 per share.

 BISNOFF said that another ESOS Series A investor - Wearable

 Fintech - was bidding up the share price.




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      73.   On August 26, 2019, BISNOFF sent an email informing

 A.C. that, due to attention from Apple resulting from an extra

 patent ESOS had obtained, only current investors could take

 advantage of the offer of ESOS Series C Preferred shares from

 the employee pool.      The minimum purchase was 10,000 shares at

 $17.50 per share, with a promised buy-back at $22.50 per share

 between October 19-31, 2019. On August 27, 2019, BISNOFF advised

 that, due to the high number of Friends and Family who wanted to

 purchase the remaining shares as well as the tight timeframe for

 the buy-back, the ESOS board had agreed to reduce the minimum

 purchase to 4,000 shares.

      74.   On September 30, 2020, BISNOFF sent an email to A.C.

 with another offer of shares, this one setting a maximum

 purchase of 50,000 shares at a price of $17.50 per share.

 BISNOFF stated that share buy-backs and licensing revenue would

 begin in January 2021.

      75.   As a result of BISNOFF's false and misleading

 statements and representations, A.C. invested in ESOS by wiring

 the following amounts on the following dates to ESOS Citibank

 account X8828:

            a.    $25,000 on September 8, 2018;

            b.    $5,000 on May 10, 2019;

            c.    $70,000 on August 27, 2019;

            d.    $350,000 on October 21, 2019, via Fedwire.

      76.   A.C. did not receive any return on her investment,

 resulting in a net loss of $450,000.




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      77.   BISNOFF provided numerous excuses for the delays in

 paying A.C. the promised investment returns, including that she

 was dying from cancer.

      78.   Around January 2023, BISNOFF texted A.C. and asked

 A.C., who is a medical doctor, to prepare a letter for BISNOFF

 to submit to the court overseeing a lawsuit in which she was

 involved. BISNOFF wanted to be excused from attending the

 proceedings in person because of her terminal cancer. BISNOFF

 said her oncologist was on maternity leave and unavailable to

 draft the letter. Because A.C. was on vacation, BISNOFF offered

 to prepare the letter and send it to A.C. for her signature. The

 letter BISNOFF prepared stated that she had stage three

 endometrial carcinoma and required radiation treatment every day

 and chemotherapy two to three times per week. Because BISNOFF

 had previously told A.C. she had terminal cancer, A.C. agreed to

 sign the letter.

      79.   In December 2023, after discovering that the SEC had

 sued BISNOFF, A.C. queried an internal medical historical

 database for the Los Angeles area regarding BISNOFF and

 discovered no patient records reflecting a cancer diagnosis or

 any cancer treatment.

                  f.     Victim-Investor K.W.

      80.   K.W., a resident of Los Angeles, California, first met

 BISNOFF approximately 12 years ago. BISNOFF often spoke of her

 company ESOS, discussed ESOS-related legal matters, and showed

 K.W. pictures of smart ring prototypes. At some point during




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 their friendship, BISNOFF approached K.W. about investing in

 ESOS.

         81.   Based on BISNOFF's portrayal of ESOS and her showing

 K.W. the smart ring prototypes, K.W. assumed BISNOFF owned the

 relevant patent; this understanding was confirmed by the legal

 matters BISNOFF discussed, including litigation about ownership

 of the patent.

         82.   As a result of BISNOFF's representations about ESOS,

 K.W. invested in ESOS by wiring the following amounts on the

 following dates to ESOS Citibank account ending 8828:

               a.   $40,000 on August 3, 2019;

               b.   $25,000 on February 6, 2020;

               c.   $25,000 on November 16, 2020;

               d.   $25,000 on July 15, 2021;

               e.   $10,000 on January 7, 2022;

               f.   $3,000 on June 2, 2022.

         83.   On October 21, 2019, BISNOFF wired $99,000 to K.W.

 This money came directly from the $350,000 that Victim-Investor

 A.C. had wired to the Citibank X8828 account that same day.

 K.W. did not receive any other return on her investment,

 resulting in a net loss of $29,000.

                    g.   Victim-Investor T.L.

         84.   T.L., at the time a resident of Carmel, California,

 met BISNOFF in around 2014-2015, through the Brentwood Community

 Council. BISNOFF often spoke of her company ESOS.

         85.   Around July 2018, BISNOFF said in an email to T.L.

 that Apple was going to buy ESOS and, as BISNOFF owned ESOS's



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 intellectual property, it was a great first-time investment

 opportunity. BISNOFF offered ESOS shares at $10 per share with a

 promised $15 buy-back after the Apple purchase was finalized.

      86.   As a result of BISNOFF's false and misleading

 statements, on July 23, 2018, T.L. invested in ESOS by wiring

 $40,000 to ESOS Citibank account X8828. On August 28, 2018,

 BISNOFF returned the money to T.L. due to purported issues with

 the Apple sale.

      87.   On September 5, 2018, BISNOFF advised T.L. that the

 USPTO indicated the patent assignment relevant to the purported

 sale to Apple would post on or by November 6, 2018, and offered

 T.L. another investment opportunity.

      88.   As a result of BISNOFF's false and misleading

 statements, on October 11, 2018, T.L. invested in ESOS by wiring

 $40,000 to ESOS Citibank account X8828.

      89.   On August 28, 2019, T.L. received a wire of $60,000

 from the ESOS Citibank account X8828, which was purportedly the

 proceeds of the buy-back of the ESOS shares he had purchased on

 October 11, 2018. This was a Ponzi payment: The funds can be

 traced to the $70,000 received from Victim-Investor A.C. one day

 earlier, namely, on August 27, 2019.

      90.   In December 2020, BISNOFF offered T.L. another

 opportunity to invest in ESOS.       Based on the August 2019 return

 on his October 2018 investment, and updates on ESOS's business

 that BISNOFF provided, on December 29, 2020, T.L. wired $25,000

 to ESOS Citibank account X8828 as a further investment.




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      91.     T.L. was never paid his promised return per the

 completed December 2020 stock agreement. BISNOFF offered various

 excuses including having cancer and dealing with legal issues

 purportedly arising from a board member's attempted theft of

 ESOS's IP.    T.L. suffered a net loss of $5,000.

                   h.    Victim-Investor M.H.

      92.     M.H., a resident of Santa Monica, California, met

 BISNOFF's husband through mutual friends. During social

 gatherings, BISNOFF would talk about ESOS; based on

 conversations with BISNOFF and her husband, M.H. understood

 BISNOFF owned the patent for a wearable ring housing a

 contactless payment system, which was known as the ESOS Ring.

      93.     BISNOFF presented ESOS as a very successful company,

 with rings already in production and various established

 distribution channels. BISNOFF claimed ESOS was in distribution

 deals with Walmart, Target, and CVS, and ESOS had several large

 investors such as a company operating in Tulsa, Oklahoma and

 billionaire Jamie Kern Lima.

      94.     In early October 2020, BISNOFF sent K.S. a

 solicitation via email to invest in ESOS, which K.S. forwarded

 to M.H. M.H. requested an investment packet and, in response,

 BISNOFF provided audited financial information (which stated

 that over 500,000 rings had been created), an ESOS sales deck

 presentation, financial projections, a 2019 tax return (as noted

 in paragraph 17 above, the CPA's signature as preparer on the

 return is forged), and a patent valuation estimate. BISNOFF

 offered M.H. 3,000 ESOS shares at $10 per share, with a promised



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 return through a buy-back of at least $17.50 per share in

 February 2021.

      95.   As a result of BISNOFF's false and misleading

 statements, on October 13, 2020, M.H. invested in ESOS by wiring

 $30,000 to ESOS Citibank account X8828.

      96.   February 2021 passed and M.H. had not been paid as

 promised. When he asked BISNOFF about it, she claimed numerous

 excuses such as that the 500,000 rings were backordered and ESOS

 was going live with Walmart in December 2021. Around July 2022,

 BISNOFF promised to wire M.H. his buy-back proceeds, but no

 money had been sent by August 2022 and BISNOFF kept making

 excuses.

      97.   From August 8 through 22, 2022, in email and text

 communications, BISNOFF told M.H. that she was going to send a

 cashier's check instead of a wire.        BISNOFF ultimately sent M.H.

 a check in the amount of $97,200 drawn on ESOS PNC account

 X3242, however, the check was returned for non-sufficient funds.

 Despite numerous promises of payment, M.H. did not receive any

 return on his investment, resulting in a net loss of $30,000.

                  i.     Victim-Investor D.Z.

      98.   D.Z., a resident of Pacific Palisades, California, was

 introduced to BISNOFF through mutual friends. D.Z. learned

 BISNOFF had invented a contactless payment ring technology, and

 that others had invested successfully in her company ESOS. In

 February 2021, BISNOFF solicited D.Z. initially by telephone and

 then via email to invest in ESOS. BISNOFF claimed ESOS was

 transferring ownership and advised that, thanks to COVID,



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 contactless payments had taken off, and BISNOFF wanted to know

 if D.Z. wanted to take advantage of this opportunity. BISNOFF

 provided an investor packet and offered D.Z. 25,000 shares at

 $10 per share, with a promised buy-back at $31 per share no

 later than March 1, 2021.

      99.   As a result of BISNOFF's false and misleading

 statements, on February 4, 2021, D.Z. invested in ESOS by wiring

 $250,000 to ESOS Citibank account X8828 via Fedwire.

      100. D.Z. did not receive the promised return on his

 investment.    BISNOFF made excuses, including that she was

 struggling with cancer. D.Z. suffered a net loss of $250,000.

                  j.     Victim-Investor K.S.

      101. K.S., a resident of Santa Monica, California, was

 introduced to BISNOFF in 2018 and frequently socialized with

 her. BISNOFF claimed to have previously worked for Elon Musk and

 to currently own a company called ESOS, which owned a patent and

 manufactured rings tied to a person's bank account and able to

 make contactless payments. BISNOFF described lawsuits involving

 people trying to steal her patent.

      102. BISNOFF claimed she was currently talking with Apple

 about ESOS technology. Around late October 2020, BISNOFF emailed

 K.S. and offered her a Friends and Family ESOS stock purchase

 opportunity; BISNOFF also provided an ESOS investor packet that

 included financial statements. K.S. declined. Approximately one

 year later, BISNOFF again emailed K.S. with another ESOS

 investment opportunity and promises of a great and quick return,

 but with a 24-hour deadline to accept. BISNOFF said she was in



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 current negotiations with Valid in Brazil, which would be

 publicly announced the following Monday.          BISNOFF was offering

 ESOS shares at $10 each, with a promised buy-back of $24.12 per

 share in January 2022. BISNOFF provided an ESOS patent

 valuation, certified financial statements, monthly financial

 projections including revenue and net income, and a stock

 purchase agreement. K.S. said she could only afford $10,000, but

 BISNOFF pressured K.S. to invest more and reassured K.S. that

 she would be able to quickly cash-out her investment.

      103. As a result of BISNOFF's false and misleading

 statements, on December 2, 2021, K.S. invested in ESOS by wiring

 $20,000 to ESOS Citibank account X8828.

      104. When there was no press release as BISNOFF had said

 there would be, K.S. began to have a bad feeling about her

 investment. The promised buy-back also did not occur and BISNOFF

 provided numerous excuses for why it had not. Around August 20,

 2022, BISNOFF told K.S. that she was leaving a check on K.S.'s

 front porch. K.S. retrieved the check but, when she took it to

 her bank, she learned that there were no funds in the BBVA/PNC

 account on which the check had been written.

      105. K.S. did not receive any return on her investment,

 resulting in a net loss of $20,000.

            3.    BISNOFF’s Use of the Victim-Investors’ Money

      106. Although BISNOFF represented that the invested monies

 would be used for ESOS's business, in fact, from 2017 to 2023,

 BISNOFF used a significant portion of the $2,140,250 she

 received from investors for personal expenses.            This included


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 paying over $700,000 for her rent on her personal residence,

 which exceeded $150,000 per year.        BISNOFF used approximately

 $775,806 of investor funds to make Ponzi-like payments to prior

 investors. As an example, on October 21, 2019, A.C. wired

 $350,000 to ESOS Citibank Account x8828, which had an account

 balance of $16,566 at the time, and on the same day, BISNOFF

 made the following Ponzi-like payments: $99,000 to victim K.W.

 and $123,750 to victim R.K.      BISNOFF also transferred over

 $300,000 to herself or her personal bank account to pay for

 personal debts.

      107. Although BISNOFF told her victims that ESOS's business

 was thriving, for most of the 2017-2013 period, ESOS's Citibank

 x8828 business account maintained anemic account balances prior

 to investor deposits, incurring over $51,000 in bank fees. An

 analysis of the account did not identify any significant

 business income or revenue, and the majority of deposits were

 comprised of investor and EIDL deposits.

      C.    BISNOFF’s Efforts to Obstruct the Investigation

      108. On November 16, 2023, I received a telephone call from

 two attorneys at the law firm Eisner Gorin LLP who said they

 represented BISNOFF.     The attorneys said they had learned of an

 FBI investigation into BISNOFF and ESOS from the Los Angeles

 Police Department ("LAPD") and inquired about the status of the

 investigation. The attorneys said that BISNOFF was under hospice

 care due to stage four endometrial cancer. I confirmed that the

 FBI had initiated an investigation into BISNOFF but said that I

 could not comment on the status on the investigation.



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      109.   On March 27, 2024, I interviewed Scates regarding

 BISNOFF and ESOS. The following day, BISNOFF contacted the Los

 Angeles District Attorney's Office ("LADAO") regarding her

 approximately seven-year-old allegation against Prencipe.              The

 LADAO contacted an LAPD Detective who, in turn, contacted me

 with questions concerning BISNOFF.

      110. On April 9, 2024, an Assistant District Attorney at

 the Santa Cruz County District Attorney's Office ("SCDAO") told

 me the following:

      111. In March 2024, BISNOFF and Scates filed a grand theft

 complaint and police report alleging that Prencipe had stolen a

 patent.   This was over a year after a jury trial in which McLear

 US was found to be the rightful owner of an undivided, 100

 percent interest in the '609 Patent Family. (See paragraph 24,

 above.)

      112. After the SCDAO declined to file charges on or about

 April 3, 2024, BISNOFF began harassing SCDAO officials via

 telephone messages sent from telephone number (213)788-3062 and

 email address Esos_CR@proton.me. BISNOFF continued these

 contacts through April 8, 2024, when the SCDAO forwarded the

 information to the FBI.

                               V. CONCLUSION

      113. For all the reasons described above, there is probable

 cause to believe that BISNOFF has committed wire fraud, in

 violation of 18 U.S.C. § 1343k and Securities Fraud, in

 violation of 15 U.S.C. §§ 78j(b) and 78ff and 17 C.F.R. 240.10b-

 5.


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                                          Marni A. Barton, Special Agent
                                          Federal Bureau of
                                          Investigation


 Attested to by the applicant in
 accordance with the requirements
 of Fed. R. Crim. P. 4.1 by
 telephone         12th day of
      hone on this ____
 -XO\, 2024.



 HON. PEDRO V. CASTILLO
 UNITED
      D STATES MAGISTRATE JUDGE
                          J




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